 Case 6:21-cv-06013-RTD Document 11                     Filed 06/01/21 Page 1 of 1 PageID #: 62



                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF ARKANSAS
                                       HOT SPRINGS DIVISION

ERIC C. BURGIE                                                                              PLAINTIFF

v.                                      Civil No. 6:21-cv-06013

JEANNIE PIKE, Garland County Circuit
Clerk; and JOHN HOMER WRIGHT,
Garland County Circuit Judge                                                             DEFENDANTS

                                                ORDER


        Now before the Court is the Report and Recommendation filed May 10, 2021, by the Honorable

Mark E. Ford, United States Magistrate Judge for the Western District of Arkansas. (ECF No. 10.) Plaintiff

proceeds in this section 42 U.S.C. §1983 action pro se. Judge Ford recommends that Plaintiff’s Complaint

be dismissed without prejudice for failure to comply with the Court’s Local Rules and Orders and failure

to prosecute this case. Id.

        No party has filed objections to the Report and Recommendation, and the time to object has now

passed. See 28 U.S.C. § 636(b)(1). Upon review, the Court adopts the Report and Recommendation in

toto.

        Accordingly, it is hereby ORDERED that Plaintiff’s Complaint (ECF No. 1) is DISMISSED

WITHOUT PREJUDICE.

            IT IS SO ORDERED this 1st day of June 2021.




                                                /s/   Robert T. Dawson
                                                ROBERT T. DAWSON
                                                SENIOR U.S. DISTRICT JUDGE
